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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE


ORLANDO AND PAULETTE                    )
DEJESUS, FATHER AND MOTHER              )
AND NEXT OF KIN OF BLAISE               )
DEJESUS, DECEASED,                      )
                                        )
             Plaintiffs,                )
                                        )
      v.                                )   Civ. No. 15-1065-SLR
                                        )
THE STATE OF DELAWARE, et al.,          )
                                        )
             Defendants.                )


Daniel Charles Herr, Esquire of Law Office of Daniel C. Herr LLC, Wilmington,
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for Defendants the State of Delaware, Lt. Todd Drace, Tiffani Starkey, and Sgt. John
Kirlin.

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Defendant Connections Community Support Programs, Inc.




                              MEMORANDUM OPINION




Dated: September 28, 2016
Wilmington, Delaware
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I. INTRODUCTION

       On November 17, 2015, Orlando and Paulette DeJesus ("plaintiffs"), parents and

next of kin to Blaise DeJesus ("decedent"), commenced this civil action arising under

the Eighth and Fourteenth Amendments of the United States Constitution, 42 U.S.C. §§

1983 and 1988, Title II to the Americans with Disabilities Act, and the statutory and

common law of the State of Delaware against defendants the State of Delaware acting

through the Delaware Department of Correction ("DOC"), correctional officers Lt. Todd

Drace ("Drace"), Sgt. John Kirlin ("Kirlin"), and Tiffany Starkey ("Starkey") (collectively

the "State defendants"), and DOC's medical and mental health contractor, Connections

Community Support Programs, Inc. ("Connections") (collectively with the State

defendants, "defendants"). Plaintiffs allege that the deliberate indifference by DOC and

Connections to decedent's particular vulnerability to suicide violated the Americans with

Disability Act ("ADA") and was a proximate cause of decedent's suicide while he was

incarcerated at a DOC facility. (D.I. 1 at   ,m 46-59)   Plaintiffs also assert that the

correctional officer defendants violated the Eighth Amendment's proscription against

cruel and unusual punishment. (Id. at    ,m 60-68)   Finally, plaintiffs claim that the medical

negligence of Connections and its employees and agents was a proximate cause of

decedent's suicide. (Id. at ~m 69-76)

       On January 27, 2016, the State defendants moved to dismiss the complaint.

(D.I. 9, 10) State defendants assert that plaintiffs did not overcome the requirements of

qualified immunity and that the ADA claim fails to set forth a plausible claim because the

DOC is entitled to sovereign immunity. Plaintiffs have filed their opposition with no
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objection to dismissal of the ADA claim. (D.I. 11 at 6) Therefore, the ADA claim is

deemed dismissed, and the court addresses only the issue of qualified immunity. The

defendants have replied. (D.I. 12) The court has subject matter jurisdiction over this

matter pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3), and supplemental jurisdiction

pursuant to 28 U.S.C. § 1367.

II. BACKGROUND 1

        On or about August 1, 2014, decedent, a long-term heroin user, was sentenced

to attend the CREST addiction rehabilitation program. (D.I. 1) Decedent went directly

from sentencing to the Central Violation Probation Center ("CVOP") 2 to await transfer to

the CREST program.

         During the medical screening part of intake into CVOP, decedent admitted to

CVOP staff to having heroin and other drugs in his system, and to be suffering from

withdrawal symptoms. (Id. at 1116) In order for medical professionals to attend to

decedent's withdrawal symptoms and detoxification, decedent was moved to the

infirmary located in JTVCC. (Id. at 1117)

        Although decedent was still suffering physically and mentally from heroin and

other drug withdrawal, he was discharged from the infirmary on or about August 5,

2014. (Id. at 1122) Decedent was supposed to be transferred back to CVOP. (Id. at 11

21) Instead, an order was placed moving decedent to general inmate housing at




1 The following facts are alleged in the complaint, which facts the court will accept as
true for the purpose of deciding the pending motion. Nami v. Fauver, 82 F.3d 63, 65 (3d
Cir. 1996)(citing Holder v. City of Allentown, 987 F.2d 188, 194 (3d Cir. 1993).

2CVOP is located next to the James T. Vaughn Correction Center ("JTVCC") in
Smyrna, Delaware.
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JTVCC. (Id.) After discovering that decedent's brother was a correctional officer

employed at JTVCC, the housing order was changed so that decedent would be housed

in the Segregated Housing Unit ("SHU"). (Id. at     ,.m 23-24)   Decedent was transferred to

the SHU in the late afternoon/early evening hours of August 5, 2014. (Id.         at~   25)

       Drace and Kirlin escorted decedent to his cell in the SHU. (Id.      at~   34) Decedent

begged Drace and Kirlin not to house him alone because he felt like he was suffering

from withdrawal symptoms. (Id.      at~   35) Decedent said that he was concerned that he

may hurt himself. (Id.) Drace and Kirlin took no meaningful action in response to

decedent's statements and placed him in a cell in the SHU. (Id.       at~   36) Later, as

Starkey conducted rounds, decedent begged Starkey not to continue to house him

alone because he still felt like he was suffering from withdrawal symptoms and may hurt

himself. (Id. at ~ 37)

       DOC policies and procedures require that rounds be conducted every 30

minutes. (Id.   at~   40) Kirlin and Starkey did not conduct proper rounds every 30

minutes to check on inmates on the particular tier in which decedent was housed on

August 5, 2014, instead performing rounds at intervals that exceeded 90 and 120

minutes. (Id. at 1111 40-42) During an interval that exceeded 120 minutes, decedent

hanged himself and died. (Id. at 1143) No correctional officer walked by decedent's cell

to check on him prior to decedent hanging himself. (Id. at 11 45)

Ill. STANDARD OF REVIEW

       A motion filed under Federal Rule of Civil Procedure 12(b)(6) tests the sufficiency

of a complaint's factual allegations. Bell At/. Corp. v. Twombly, 550 U.S. 544, 555

(2007); Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). A complaint must contain



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"a short and plain statement of the claim showing that the pleader is entitled to relief, in

order to give the defendant fair notice of what the ... claim is and the grounds upon

which it rests." Twombly, 550 U.S. at 545 (internal quotation marks omitted)

(interpreting Fed. R. Civ. P. 8(a)). Consistent with the Supreme Court's rulings in

Twombly and Ashcroft v. Iqbal, 556 U.S. 662 (2009), the Third Circuit requires a three-

part analysis when reviewing a Rule 12(b)(6) motion. Connelly v. Lane Const. Corp.,

809 F.3d 780, 787 (3d. Cir. 2016). In the first step, the court "must tak[e] note of the

elements a plaintiff must plead to state a claim." Next, the court "should identify

allegations that, because they are no more than conclusions, are not entitled to the

assumption of truth." Lastly, "[w]hen there are well-pleaded factual allegations, a court

should assume their veracity and then determine whether they plausibly give rise to an

entitlement for relief." Id. (citations omitted).

       Under Twombly and Iqbal, the complaint must sufficiently show that the pleader

has a plausible claim. McDermott v. Clondalkin Grp.,, Civ. No. 15-2782, 2016 WL

2893844, at *3 (3d Cir. May 18, 2016). Although "an exposition of [the] legal argument"

is unnecessary, Skinner v. Switzer, 562 U.S. 521 (2011 ), a complaint should provide

reasonable notice under the circumstances. Id. at 530. A filed pleading must be "to the

best of the person's knowledge, information, and belief, formed after an inquiry

reasonable under the circumstances," such that "the factual contents have evidentiary

support, or if so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery." Anderson v. Bd. of Sch. Directors of

Millcreek Twp. Sch. Dist., 574 F. App'x 169, 174 (3d Cir. 2014) (quoting Fed. R. Civ. P.

11 (b)). So long as plaintiffs do not use "boilerplate and conclusory allegations" and



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"accompany their legal theory with factual allegations that make their theoretically viable

claim plausible," the Third Circuit has held "pleading upon information and belief [to be]

permissible [w]here it can be shown that the requisite factual information is peculiarly

within the defendant's knowledge or control." McDermott, 2016 WL 2893844, at *4

(quotation marks, citation, and emphasis omitted).

       As part of the analysis, a court must accept all well-pleaded factual allegations in

the complaint as true, and view them in the light most favorable to the plaintiff. See

Erickson v. Pardus, 551 U.S. 89, 94 (2007); Christopher v. Harbury, 536 U.S. 403, 406

(2002); Phillips v. Cnty. of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008). In this regard, a

court may consider the pleadings, public record, orders, exhibits attached to the

complaint, and documents incorporated into the complaint by reference. Tellabs, Inc. v.

Makar Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Oshiver v. Levin, Fishbein,

Sedran & Berman, 38 F.3d 1380, 1384-85 n.2 (3d Cir. 1994). The court's analysis is a

context-specific task requiring the court "to draw on its judicial experience and common

sense." Iqbal, 556 U.S. at 663-64.

IV. ANALYSIS

       The State defendants move to dismiss, arguing that plaintiffs have failed to plead

a plausible Eighth Amendment claim for deliberate indifference to decedent's increased

risk of suicide or decedent's medical needs. (0.1. 10) They contend that the factual

allegations are insufficient to overcome defendants' qualified immunity and do not

demonstrate a substantial risk of suicide by decedent or the correctional officers'

awareness and deliberate indifference to it. In response, plaintiffs argue that their claim

has been plausibly pied and that the law at issue is clearly established.



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       Government officials performing discretionary functions are generally immune

from liability for civil damages when their conduct does "not violate clearly established

statutory or constitutional rights of which a reasonable person would have known."

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (citations omitted). To establish a case

that overcomes qualified immunity, a plaintiff must plead facts "showing (1) that the

official violated a statutory or constitutional right, and (2) that the right was clearly

established at the time of the challenged conduct." Mammaro v. New Jersey Div. Of

Child Prof. & Permanency, 2016 WL 683637, at *3 (3d Cir. Feb. 19, 2016). A right is

"clearly established" when "[t]he contours of the right [are] sufficiently clear that a

reasonable official would understand that what he is doing violates that right." Anderson

v. Creighton, 483 U.S. 635, 640 (1987); accord In re City of Phi/a. Litig., 49 F.3d 945,

961 (3d Cir.1995).

       When a prisoner commits suicide, there is an established due process right

action as well as an Eighth Amendment right of action. There is a clearly established

"standard of liability to be applied in [the Third Circuit] in prison suicide cases." Colburn

v. Upper Darby Twp., 946 F.2d 1017, 1023 (3d Cir. 1991) (quotations omitted) ("Colburn

//"). "If custodial officials kn[e]w or should [have] know[n] of the particular vulnerability to

suicide of an inmate, then the Fourteenth Amendment imposes on them an obligation

not to act with reckless indifference to that vulnerability." Id. Similarly, "prison officials

violate the Eighth Amendment's proscription of cruel and unusual punishment when

they exhibit deliberate indifference to the serious medical needs of prisoners." Id.

(internal quotation marks omitted). Thus, in order to successfully plead a cognizable

constitutional claim in cases of prisoner suicide, the plaintiff "has the burden of



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establishing three elements: (1) the detainee had a particular vulnerability to suicide, (2)

the custodial officer or officers knew or should have known of that vulnerability, and (3)

those officers acted with reckless indifference to the detainee's particular vulnerability."

Colburn If, 946 F.2d at 1023 (quotations omitted). See also Thomas v. Fayette County,

2016 WL 3639887, at *12 (W.D. Pa. July 8, 2016); Wallace v. James T. Vaughn

Correctional Center, 2013 WL 1395878, at *3 (D. Del. April 4, 2013).

       Under the first element, plaintiff must show that there was a "strong likelihood,

rather than a mere possibility, that self-inflicted harm will occur." Colburn If, 946 F.2d at

1024; see also Wargo v. Schuylkill County, 348 Fed. App'x. at 759 (M.D. Pa. Oct. 9,

2009). "It is not enough to show that the detainee fits within a category of persons who

may be more likely to commit suicide. Instead, in [a] case, [plaintiff] has the burden of

demonstrating that [decedent] himself had a particular vulnerability to suicide." Wargo,

348 Fed. Appx. at 759. In this case, decedent's recent withdrawal treatment in addition

to his indications to multiple officers that he intended to injure himself is sufficient to

plausibly demonstrate his particular vulnerability to suicide.

       Regarding the second element, plaintiff must show defendants were "aware of

facts from which the inference could be drawn that a substantial risk of serious harm

existed and that [defendants] drew the inference." Renee v. Wetzel, 2016 WL 707486 at

*4 (W.D. Pa. Feb. 22, 2016)(quoting Farmer v. Brennan, 511 U.S. 825, 837 (1994)); see

also Natale v. Camden County Correctional Facility, 318 F.3d 575, 582 (3d Cir. 2003)

In this case, plaintiffs have plausibly pied facts sufficient to demonstrate defendants'

subjective awareness of decedent's particular vulnerability. Knowledge of decedent's

withdrawal and comments by decedent indicating that he may injure himself suffice to



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show that prison officials could have drawn an inference that decedent may injure

himself. Moreover, although prison officials are not required to believe everything

inmates tell them, even when the topic is suicide, it is essential that prison officials

seriously consider all comments related to self-injury made by an individual who

displays a particular vulnerability to harming himself or herself. Goetsch v. Ley, 444

Fed. Appx. 85, 88-89 (7th Cir. 2011); Domino v. Texas Dept. of Criminal Justice, 239

F.3d 752, 753 (5th Cir. 2001).

         Under the third element, it must be shown that officers, while aware of the

detainee's particular vulnerability to suicide, were recklessly indifferent to the detainee's

particularized needs. Wallace, 2013 WL 1395878, at *3. Plaintiffs have plausibly pied

defendants' reckless indifference to decedent's particular vulnerability to suicide,

satisfying this element. Defendants' failure to follow routine housing assignments or to

perform timely rounds while being aware of decedent's particular vulnerability to suicide

is sufficient to plausibly demonstrate a reckless indifference to decedent's particularized

needs.

         Therefore, in this case, the constitutional right is clearly established consistent

with Third Circuit caselaw. Taking the well-pleaded factual allegations in the complaint

as true, the complaint at bar has sufficiently pied a cognizable constitutional claim. The

State defendants' motion to dismiss is denied.




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V. CONCLUSION

      For the foregoing reasons, the State defendants' motion to dismiss (D.I. 9) is

denied. An appropriate order shall issue.




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